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 8
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 9   UNITED STATES OF AMERICA

10                          UNITED STATES DISTRICT COURT

11                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   UNITED STATES OF AMERICA,               No. CR 21-579-DMG

13             Plaintiff,                    ORDER CONTINUING CHANGE OF PLEA
                                             HEARING
14                    v.

15   MATTHEW FUNKE,

16             Defendant.

17

18        The Court has read and considered the Stipulation to Continue
19   the Change of Plea Hearing for defendant Matthew Funke filed by the
20   parties in this matter on February 22, 2022.
21        THEREFORE, FOR GOOD CAUSE SHOWN:
22        The hearing date in this matter is continued from February 23,
23   2022 to March 16, 2022 at 2:30 p.m.
24        IT IS SO ORDERED.
25

26
     February 24, 2022
27   DATE                                   DOLLY M. GEE
                                            UNITED STATES DISTRICT JUDGE
28
